Case 3:17-cv-00072-NKM-JCH Document 865 Filed 09/09/20 Page 1 of 5 Pageid#: 14160




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,


                           Plaintiffs,
    v.


    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,          JURY TRIAL DEMANDED
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,




                           Defendants.

         PLAINTIFFS’ SUBMISSION REGARDING ROBERT “AZZMADOR” RAY
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         In response to the Court’s Order dated August 27, 2020, ECF No. 849, Plaintiffs state

  that they intend to rely on the following evidence at the Show Cause Hearing for Defendant

  Robert “Azzmador” Ray on September 14, 2020, at 2:00 p.m.:

             •   Court Orders regarding Ray (ECF Nos. 379, 383, 728, 814, 848)

             •   Plaintiffs’ filings regarding Ray (ECF Nos. 673, 750, 803, 818) and exhibits
                 thereto

             •   Email correspondence with Ray

             •   Ray’s social media certification

             •   Ray’s responses to Plaintiffs’ Interrogatories and Requests for Production

             •   The third-party discovery vendor’s status reports



  Date: September 9, 2020                               Respectfully submitted,

                                                        /s/ Jessica E. Phillips
                                                        Karen L. Dunn (pro hac vice)
                                                        Jessica E. Phillips (pro hac vice)
                                                        William A. Isaacson (pro hac vice)
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                                                        Counsel for Plaintiffs




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                                            Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 9, 2020, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                            Elmer Woodard
   David L. Hauck                                     5661 US Hwy 29
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                                                      Counsel for Defendants Matthew Parrott,
                                                      Traditionalist Worker Party, Jason Kessler,
                                                      Nathan Damigo, and Identity Europa, Inc.
                                                      (Identity Evropa)


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          I further hereby certify that on September 9, 2020, I also served the following non-ECF
  participants, via electronic mail, as follows:

   Elliot Kline                                       Matthew Heimbach
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